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                            UNITED STATES DISTRICT COURT
                                    District of Maine

                                                    )
 BRIAN DUNNIGAN,                                    )   Docket No. 2:19-cv-00450-GZS
                        Plaintiff                   )
                                                    )
 v.                                                 )
                                                    )
 YORK COUNTY, WILLIAM KING, ERIC                    )
 DAIGNEAULT, DONOVAN CRAM, and                      )
 MATTHEW ROCCHIO,                                   )
                     Defendants                     )
                                                    )


ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS YORK COUNTY AND
                        WILLIAM KING


       NOW COME Defendants York County and William King, through counsel, and hereby

answer and affirmatively defend Plaintiff’s Complaint as follows:

                                    AFFIRMATIVE DEFENSES

       A. Plaintiff’s Complaint fails to state a cause of action upon which relief may be granted.

       B. Plaintiff’s damages were directly and proximately caused by the acts and/or omissions

of an individual and/or entity other than these Defendants.

       C. Plaintiff’s damages were directly and proximately caused by a legally sufficient

superseding/intervening cause.

       D. Plaintiff has failed to mitigate his damages as required by law.

                                            ANSWER

                                           Introduction

       1. These Defendants admit that on February 16, 2018, Plaintiff Brian Dunnigan was

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transported to the York County Jail by the Ogunquit Police Department. These Defendants are

without sufficient knowledge or information so as to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny same.

       2. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       3. These Defendants admit that the Plaintiff was released from the York County Jail on

February 17, 2018. These Defendants are without sufficient knowledge or information so as to

form a belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and therefore deny same.

                                              Parties

       4. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       5-6. These Defendants admit the allegations contained in these paragraphs of Plaintiff’s

Complaint.

       7. These Defendants admit that Eric Daigneault was a corrections officer employed by

York County in February of 2018.

       8. These Defendants admit that Donovan Cram was a corrections officer employed by

York County in February of 2018.

       9. These Defendants admit that Matthew Rocchio was a corrections officer employed by

York County in February of 2018.


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                                             Jurisdiction

        10. The allegations in this paragraph of Plaintiff’s Complaint do not require a response.

To the extent a response is required, these Defendants agree that this court has jurisdiction over

these claims.

                                         General Allegations

        11-12. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

        13. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.

        14-34. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

                  Count I - 42 U.S.C. § 1983, 5 M.R.S. § 4682 (Cpl. Daigneault)

        35. These Defendants repeat and reassert their responses to each of the above paragraphs

of Plaintiff’s Complaint as if fully set forth herein.

        36-42.   These allegations do not pertain to these Defendants.          To the extent these

Defendants as required to respond to any allegations contained in these paragraphs of Plaintiff’s

Complaint, these Defendants deny all such allegations.

        43. WHEREFORE, these Defendants pray for judgment in their favor against the Plaintiff

on this count of Plaintiff’s Complaint, plus costs, interest, and attorneys fees.




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                 Count II - 42 U.S.C. § 1983, 5 M.R.S. § 4682 Municipal Liability
                        (York County and Sheriff King, Official Capacity)

        44. These Defendants repeat and reassert their responses to each of the above paragraphs

of Plaintiff’s Complaint as if fully set forth herein.

        45-47. These Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

        48-56. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

        57-59. These Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

        60. WHEREFORE, these Defendants pray for judgment in their favor against the Plaintiff

on this count of Plaintiff’s Complaint, plus costs, interest, and attorneys fees.

                 Count III - 42 U.S.C. § 1983, 5 M.R.S. § 4682 Failure to Intervene
                                  (Officer Cram, Officer Rocchio)

        61. These Defendants repeat and reassert their responses to each of the above paragraphs

of Plaintiff’s Complaint as if fully set forth herein.

        62-64.    These allegations do not pertain to these Defendants.         To the extent these

Defendants as required to respond to any allegations contained in these paragraphs of Plaintiff’s

Complaint, these Defendants deny all such allegations.

        65. WHEREFORE, these Defendants pray for judgment in their favor against the Plaintiff

on this count of Plaintiff’s Complaint, plus costs, interest, and attorneys fees.

Dated: December 17, 2019                                   /s/ Peter T. Marchesi
                                                         Peter T. Marchesi, Esq.

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                                         /s/ Cassandra Shaffer
                                        Cassandra S. Shaffer, Esq.

                                        Wheeler & Arey, P.A.
                                        Attorneys for Defendants York County and
                                             William King
                                        27 Temple Street
                                        Waterville, ME 04901




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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                        )
 BRIAN DUNNIGAN,                                        )    Docket No. 2:19-cv-00450-GZS
                       Plaintiff                        )
                                                        )
 v.                                                     )
                                                        )
 YORK COUNTY, WILLIAM KING, ERIC                        )
 DAIGNEAULT, DONOVAN CRAM, and                          )
 MATTHEW ROCCHIO,                                       )
                     Defendants                         )
                                                        )


                                   CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, hereby certify that:

       ●      Answer and Affirmative Defenses of Defendants York County and King

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

                      Benjamin Donahue, Esq.                bdonahue@hww.law
                      John Wall, Esq.                       jwall@monaghanleahy.com


Dated: December 17, 2019                                      /s/ Peter T. Marchesi
                                                            Peter T. Marchesi, Esq.
                                                            Wheeler & Arey, P.A.
                                                            Attorneys for Defendants
                                                            27 Temple Street
                                                            Waterville, ME 04901




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